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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

       INTELLECTUAL VENTURES II LLC,                      §
                                                          §
                  Plaintiff,                              §
                                                          §
           v.                                             §        No. 2:17-cv-662-JRG-RSP
                                                          §
       SPRINT SPECTRUM L.P. ET AL,                        §
                                                          §
                  Defendants.                             §
                                                          §

                CLAIM CONSTRUCTION MEMORANDUM OPINION AND ORDER

         Before the Court is the opening claim construction brief of Intellectual Ventures II LLC

   (“Plaintiff”) (ECF No. 180, filed on September 14, 2018), 1 the response of Sprint Spectrum L.P.,

   Nextel Operations, Inc., T-Mobile USA, Inc., T-Mobile US, Inc., Ericsson Inc.,

   Telefonaktiebolaget LM Ericsson, and Nokia of America Corporation (collectively “Defendants”)

   (ECF No. 194, filed on October 3, 2018), and Plaintiff’s reply (ECF No. 207, filed on October 15,

   2018). The Court held a hearing on the issues of claim construction and claim definiteness on

   November 1, 2018. Having considered the arguments and evidence presented by the parties at the

   hearing and in their briefing, the Court issues this Order.




   1
     Citations to the parties’ filings are to the filing’s number in the docket (ECF No.) and pin cites
   are to the page numbers assigned through ECF.
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   I.      BACKGROUND

        Plaintiff alleges infringement of U.S. Patents No. 8,682,357 (the “’357 Patent”), No.

   8,897,828 (the “’828 Patent), No. 8,953,641 (the “’641 Patent), No. 9,320,018 (the “’018 Patent),

   No. 9,532,330 (the “’330 Patent), and No. 9,681,466 (the “’466 Patent) (collectively, the “Asserted

   Patents”).

           A.     U.S. Patents No. 8,682,357 and No. 9,532,330

        The ’357 and ’330 Patents are each entitled “Paging in a Wireless Network.” They are related,

   share a common disclosure, and claim a common priority date of May 2, 2006. These patents are

   directed to technology for paging mobile devices (user equipment or UEs) in a wireless network

   with a message to ready the UE for communication. The message uses a radio network temporary

   identifier (RNTI) and an indication of dedicated communication resources to facilitate connecting

   the UE for network communication.

        Figure 2 of the patents, reproduced

   here, illustrates an exemplary wireless

   network comprising an access gateway

   (aGW, 118), various Node-B base stations,

   each servicing a cell, and UE (110). The

   aGW sends a paging message to the Node

   Bs to initiate communication with a UE.

   The Node Bs attach a cell-specific RNTI

   (c-RNTI) and an indication of resources for

   the communications to the paging message, and then broadcast the modified message in the cell.

   If the message is intended for a recipient UE, the UE communicates using the c-RNTI and the

   indication of resources. ’357 Patent col.2 l.60 – col.3 l.6, col.5 ll.4–15.
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       The abstract of the ’357 Patent provides:

          Paging in a wireless network is described. A user equipment (UE) in idle mode is
          paged by sending a message on a control channel having an allocation of resources
          for a shared channel and a radio network temporary identity (RNTI) associated with
          other UE’s including the UE. The paging message may include an International
          Mobile Subscriber Identity (IMSI) or a Temporary Mobile Subscriber Identity
          (TMSI).

       The abstract of the ’330 Patent provides:

          A signal that includes an allocation of physical resources may be sent in a long-
          term evolution (LTE) network. The signal may be derived from a paging radio
          network temporary identity (RNTI). A paging message may be sent on a shared
          channel on the allocated physical resources.

       Claim 11 of the ’357 Patent and Claim 1 of the ’330 Patent, exemplary method and device

   claims respectively, provide:

             11. A method performed by a wireless network, the method comprising:
             sending, by a first network device, a paging signal to a second network device;
             paging, by the second network device, a user equipment (UE) in idle mode by
              sending a message on a control channel, the message having an allocation of
              resources for a shared channel and a radio network temporary identity (RNTI)
              associated with a plurality of UEs including the UE;
             sending, by the second network device, a paging message in the allocated
              resources for the shared channel; and
             wherein the paging message includes an International Mobile Subscriber
              Identity (IMSI) or a Temporary Mobile Subscriber Identity (TMSI).

             1. A network device comprising:
             circuitry configured to receive, from a core network, a paging message related
               to a user equipment (UE);
             a processor configured to send, on a control channel in a long-term evolution
               (LTE) network in response to reception of the paging message, a signal to
               indicate a page of the UE and the signal includes an indication of a shared
               channel for the UE to receive;
             wherein the signal is derived from a radio network temporary-identifier
               (RNTI); and
             the processor further configured to send a transmission to the UE on the
               indicated shared channel.




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          B.      U.S. Patents No. 9,320,018 and No. 9,681,466

       The ’018 Patent is entitled “Scheduling Data Transmission in a Wireless Network” and the

   ’466 Patent is entitled “Scheduling Transmissions on Channels in a Wireless Network.” The

   patents are related, share a common disclosure, and claim a priority date of May 8, 2006. These

   patents are directed to technology for allocating communication resources across various data for

   transmission in a wireless network.

       The patents disclose a system in which user data is queued and allocated a share of finite

   physical communication resources according to a queue-based weighting scheme. Figure 4 of the

   patents, reproduced here, illustrates such an allocation. Radio-bearer queues (RB1, RB2, RB8)

   include an indication of the volume of data for transmission for each user in the queue (as opposed

   to the data for transmission itself). Resources are allocated to users at the head of the queue based

   on the number of users in the queue (Ntier) multiplied by an allocation weight associated with the

   queue (Stier) and divided by the sum over all queues of Ntier x Stier. Ultimately, the allocated

   resources are used for communication of the user’s data. If the user has data remaining in the

   buffer, the user is then placed to the

   back of the queue for subsequent

   resource    allocation    and     data

   communication. ’018 Patent col.8

   ll.7–44.

       With reference to Figure 6, the

   patents disclose a process that is used

   to limit the number of queues served

   at a single instant in time. Queue

   allocation weights are determined as
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   described with reference to Figure 4 and free resources are allocated to the queues according to

   these weights. If the number of queues that are allocated resources is greater than the maximum

   queues allowed, only the top-weighted queues are allocated resources. Queues that do not make

   the cut are assigned a Nq (Ntier) value of zero and new allocation weights are calculated. Resources

   are allocated according to the new weights (and the allocations are tweaked to account for any

   rounding errors or queues’ minimum-resource requirements). Id. at col.10 l.37 – col.12 l.14.

       The abstract of the ’018 Patent provides:

          Scheduling data transmissions in a wireless network is disclosed. A first value
          related to a radio bearer is provided to a user equipment (UE) by a wireless network.
          The wireless network also sends an allocation message for an uplink transmission
          and receives data in response. The data is selected from a plurality of radio bearers
          of the UE in response to the received first value and based on a second value.

       The abstract of the ’466 Patent provides:

          Allocation of resources in a wireless network are described where resources are
          allocated for data of each channel having a second parameter above zero prior to
          another channel's data for transmission having a third parameter less than or equal
          to zero. The second parameter may be derived from a first channel's first parameter
          and the third parameter is derived from a second channel's first parameter.

       Claim 12 of the ’018 Patent and Claim 1 of the ’466 Patent, exemplary method and device

   claims respectively, provide:

             12. A method performed by a wireless network, the method comprising:
              sending, by the wireless network, a first parameter for each of a plurality of
               radio bearers of a user equipment (UE), wherein each of the plurality of radio
               bearers is associated with a channel;
             sending, by the wireless network, an allocation message for an uplink resource
               to the UE;
             receiving, by the wireless network, data from the plurality of radio bearers in
               response to the allocation message, wherein allocation of resources for the
               data of each channel of a radio bearer having a second parameter above zero
               is provided before another channel's data for transmission having a third
               parameter less than or equal to zero; and
             wherein the second parameter is derived from a first channel's first parameter
               and the third parameter is derived from a second channel's first parameter.

             1. A user equipment (UE) comprising:

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               circuitry configured to receive, from a network device, a first transmission
                 including a first parameter corresponding to each of a plurality of channels
                 and a second transmission including an allocation message for an uplink
                 resource from the network device;
               a processor configured to allocate resources in response to the allocation
                 message, wherein resources are allocated for data of each channel having a
                 second parameter above zero prior to another channel’s data for transmission
                 having a third parameter less than or equal to zero; and
               wherein the second parameter is derived from a first channel's first parameter
                 and the third parameter is derived from a second channel's first parameter.

          C.       U.S. Patent No. 8,897,828

       The ’828 Patent is entitled “Power Control in a Wireless Communication System.” The

   application that issued as the patent was filed August 12, 2004. This patent is directed to

   technology for managing communication-signal power levels in a wireless network.

       Figure 4 of the patents illustrates a power-control system in which aspects of the prior-art

   closed-loop control, which processes transmit power control (TPC) commands based on

   comparing a measured signal-to-noise-plus-interference ratio (SNIR) to a target SNIR (412), are

   combined with aspects of the prior-art open-loop control, which estimate signal path losses based

   on comparing the received strength

   of a beacon signal to the transmitted

   strength of that signal (432). TPC

   commands may be accumulated

   (420) and the accumulated value

   combined with a path-loss estimate

   to set a transmit power level (436).

   The patent also discloses that TPC

   commands may be used without

   accumulation—where the transmit


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   power level is updated each time a new TPC command is received. ’828 Patent col.7 l.64 – col.10

   l.13.

           The abstract of the ’828 Patent provides:

              Power control in a wireless network is disclosed. Transmit power control (TPC)
              commands may be accumulated by a user equipment (UE). If accumulation is
              enabled, the UE may receive on a single physical channel an allocation of a
              scheduled uplink resource and a TPC command. The TPC command may be
              accumulated with other received TPC commands. A transmit power for an uplink
              communication based on both the path loss and the accumulated TPC commands
              may then be calculated by the UE. If accumulation is not enabled, the UE may
              receive an allocation of a scheduled uplink resource to transmit data at a calculated
              power level.

           Claims 1 and 8 of the ’828 Patent, exemplary method and device claims respectively, provide:

                 1. A method performed by user equipment (UE), the method comprising:
                 receiving, by the UE, an indication of whether accumulation of transmit power
                   control (TPC) commands is enabled;
                 determining, by the UE, a path loss of a downlink channel;
                 receiving, on a single physical channel by the UE if accumulation is enabled,
                   an allocation of a scheduled uplink resource and a TPC command, wherein
                   the TPC command is accumulated with other received TPC commands;
                 calculating, by the UE if accumulation is enabled, transmit power in
                   association with an uplink communication based on both the path loss and
                   the accumulated TPC commands; and
                 receiving, on the single physical channel by the UE if accumulation is not
                   enabled, an allocation of a scheduled uplink resource to transmit data at a
                   power level calculated by the UE based on the path loss.

                 8. A user equipment (UE) characterized in that:
                 circuitry is configured to receive, by the UE, an indication of whether
                   accumulation of transmit power control (TPC) commands is enabled;
                 circuitry is configured to determine a path loss of a downlink channel;
                 the circuitry is further configured to receive, on a single physical channel if
                   accumulation is enabled, an allocation of a scheduled uplink resource and a
                   TPC command, wherein the TPC command is accumulated with other
                   received TPC commands;
                 circuitry is configured to calculate, by the UE if accumulation is enabled,
                   transmit power in association with an uplink communication based on both
                   the path loss and the accumulated TPC commands; and
                 the circuitry is further configured to receive, on the single physical channel by
                   the UE if accumulation is not enabled, an allocation of a scheduled uplink
                   resource to transmit data at a power level calculated by the UE based on the
                   path loss.

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             D.     U.S. Patent No. 8,953,641

          The ’641 Patent is entitled “Methods and Apparatus for Multi-Carrier Communications with

   Variable Channel Bandwidth.” The patent purports to be a continuation of an application that

   issued as U.S. Patent No. 7,787,431 (“the ’431 Patent”) 2 and claims priority to several provisional

   applications filed between January 29, 2004 and May 1, 2004. The ’641 Patent is directed to

   technology for variable-bandwidth communication in a wireless network.

          Figure 6 of the patent, reproduced here, illustrates an example of a variable-bandwidth system.

   Multiple bands of different widths

   are defined by varying the number of

   subcarriers in the bands. A core-band

   is defined as one that is narrower

   than     the   smallest   channel-band

   bandwidth. The bandwidth outside

   the      core-band    comprises     the

   sidebands. The patent specification provides:

             to operate in a variable bandwidth (VB) environment, specific signaling and control
             methods are required. Radio control and operation signaling is realized through the
             use of a core-band (CB). A core-band, substantially centered at the operating center
             frequency, is defined as a frequency segment that is not greater than the smallest
             operating channel bandwidth among all the possible spectral bands that the receiver
             is designed to operate with. . . .

             In one embodiment relevant or essential radio control signals such as preambles,
             ranging signals, bandwidth request, and/or bandwidth allocation are transmitted
             within the CB. In addition to the essential control channels, a set of data channels
             and their related dedicated control channels are placed within the CB to maintain
             basic radio operation.


   2
     The ’431 Patent was the subject of Inter Partes Review (IPR) 2016-01664. This IPR considered
   the scope of “transmit a broadcast channel in an orthogonal frequency division multiple access
   (OFDMA) core-band,” a term currently before the Court with regard to the ’641 Patent.
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   ’641 Patent col.4 ll.16 – col.5 l.17.

       The abstract of the ’641 Patent provides:

           Methods and apparatus for multi-carrier communication with variable channel
           bandwidth are disclosed, where the time frame structure and the OFDM symbol
           structure are invariant and the frequency-domain signal structure is flexible. In one
           embodiment, a mobile station, upon entering a geographic area, uses a core-band
           to initiate communication and obtain essential information and subsequently
           switches to full operating bandwidth of the area for the remainder of the
           communication. If the mobile station operates in a wide range of bandwidths, the
           mobile station divides the full range into sub-ranges and adjusts its sampling
           frequency and its FFT size in each sub-range.

       Claims 1 and 25 of the ’641 Patent, exemplary method and device claims respectively,

   provide:

              1. A cellular base station, comprising:
              circuitry configured to transmit a broadcast channel in an orthogonal frequency
                division multiple access (OFDMA) core-band, wherein the core-band is
                substantially centered at an operating center frequency and the core-band
                includes a first plurality of subcarrier groups, wherein each subcarrier group
                includes a plurality of subcarriers, the core-band defined as a frequency
                segment with a bandwidth that is not greater than a smallest operating channel
                bandwidth among a plurality of operating channel bandwidths, the core-band
                having a same value for the plurality of operating channel bandwidths,
                wherein the circuitry is further configured to maintain a fixed spacing
                between adjacent subcarriers and to adjust a number of usable subcarriers to
                realize a variable band, wherein the number of usable subcarriers is
                determined based on the plurality of operating channel bandwidths; and
              circuitry configured to transmit control and data channels using the variable
                band including a second plurality of subcarrier groups, wherein the variable
                band includes at least the core-band.

              11. A method performed by a mobile station, comprising:
              receiving broadcast information by the mobile station to access an orthogonal
                frequency division multiple access (OFDMA) system, wherein the broadcast
                information is received only in a first band having a first bandwidth and the
                broadcast information is carried by a plurality of groups of subcarriers with
                each group having a plurality of contiguous subcarriers;
              determining a second bandwidth of a second band that is associated with the
                OFDMA system based upon the broadcast information received in the first
                band, wherein a second bandwidth of the second band is greater than the first
                bandwidth of the first band; and
              based upon the determination of the second bandwidth,
                   receiving the second band,

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                   wherein the first band is contained within the second band,
                   wherein a data channel is carried by at least one subcarrier group of the
                    second band,
                   wherein the plurality of contiguous subcarriers have fixed spacing,
                   wherein a number of usable subcarriers is adjustable to realize a variable
                    band, wherein the number of usable subcarriers is determined based on
                    a plurality of operating channel bandwidths, and
                   wherein the first band is defined as a frequency segment with a bandwidth
                    that is not greater than a smallest operating channel bandwidth among
                    the plurality of operating channel bandwidths, the first band having a
                    same value for the plurality of operating channel bandwidths, wherein
                    the mobile station is configured to operate within the plurality of
                    operating channel bandwidths.

   II.      LEGAL PRINCIPLES

            A.     Claim Construction

         “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

   which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

   (Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc.,

   381 F.3d 1111, 1115 (Fed. Cir. 2004)). To determine the meaning of the claims, courts start by

   considering the intrinsic evidence. Id. at 1313; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d

   858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc’ns Group, Inc., 262 F.3d

   1258, 1267 (Fed. Cir. 2001). The intrinsic evidence includes the claims themselves, the

   specification, and the prosecution history. Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d at

   861. The general rule—subject to certain specific exceptions discussed infra—is that each claim

   term is construed according to its ordinary and accustomed meaning as understood by one of

   ordinary skill in the art at the time of the invention in the context of the patent. Phillips, 415 F.3d

   at 1312–13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003); Azure

   Networks, LLC v. CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014) (“There is a heavy presumption

   that claim terms carry their accustomed meaning in the relevant community at the relevant time.”)

   (vacated on other grounds).

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        “The claim construction inquiry . . . begins and ends in all cases with the actual words of the

   claim.” Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1248 (Fed. Cir. 1998). “[I]n

   all aspects of claim construction, ‘the name of the game is the claim.’” Apple Inc. v. Motorola,

   Inc., 757 F.3d 1286, 1298 (Fed. Cir. 2014) (quoting In re Hiniker Co., 150 F.3d 1362, 1369 (Fed.

   Cir. 1998)). First, a term’s context in the asserted claim can be instructive. Phillips, 415 F.3d at

   1314. Other asserted or unasserted claims can also aid in determining the claim’s meaning because

   claim terms are typically used consistently throughout the patent. Id. Differences among the claim

   terms can also assist in understanding a term’s meaning. Id. For example, when a dependent claim

   adds a limitation to an independent claim, it is presumed that the independent claim does not

   include the limitation. Id. at 1314–15.

       “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id. (quoting

   Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995) (en banc)). “[T]he

   specification ‘is always highly relevant to the claim construction analysis. Usually, it is dispositive;

   it is the single best guide to the meaning of a disputed term.’” Id. (quoting Vitronics Corp. v.

   Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex, Inc. v. Ficosa N. Am. Corp.,

   299 F.3d 1313, 1325 (Fed. Cir. 2002). But, “‘[a]lthough the specification may aid the court in

   interpreting the meaning of disputed claim language, particular embodiments and examples

   appearing in the specification will not generally be read into the claims.’” Comark Commc’ns, Inc.

   v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998) (quoting Constant v. Advanced Micro-

   Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)); see also Phillips, 415 F.3d at 1323. “[I]t is

   improper to read limitations from a preferred embodiment described in the specification—even if

   it is the only embodiment—into the claims absent a clear indication in the intrinsic record that the




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   patentee intended the claims to be so limited.” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d

   898, 913 (Fed. Cir. 2004).

       The prosecution history is another tool to supply the proper context for claim construction

   because, like the specification, the prosecution history provides evidence of how the U.S. Patent

   and Trademark Office (“PTO”) and the inventor understood the patent. Phillips, 415 F.3d at 1317.

   However, “because the prosecution history represents an ongoing negotiation between the PTO

   and the applicant, rather than the final product of that negotiation, it often lacks the clarity of the

   specification and thus is less useful for claim construction purposes.” Id. at 1318; see also Athletic

   Alternatives, Inc. v. Prince Mfg., 73 F.3d 1573, 1580 (Fed. Cir. 1996) (ambiguous prosecution

   history may be “unhelpful as an interpretive resource”).

       Although extrinsic evidence can also be useful, it is “‘less significant than the intrinsic record

   in determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317

   (quoting C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court

   understand the underlying technology and the manner in which one skilled in the art might use

   claim terms, but technical dictionaries and treatises may provide definitions that are too broad or

   may not be indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony

   may aid a court in understanding the underlying technology and determining the particular

   meaning of a term in the pertinent field, but an expert’s conclusory, unsupported assertions as to a

   term’s definition are not helpful to a court. Id. Extrinsic evidence is “less reliable than the patent

   and its prosecution history in determining how to read claim terms.” Id. The Supreme Court

   recently explained the role of extrinsic evidence in claim construction:

          In some cases, however, the district court will need to look beyond the patent’s
          intrinsic evidence and to consult extrinsic evidence in order to understand, for
          example, the background science or the meaning of a term in the relevant art during
          the relevant time period. See, e.g., Seymour v. Osborne, 11 Wall. 516, 546 (1871)

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          (a patent may be “so interspersed with technical terms and terms of art that the
          testimony of scientific witnesses is indispensable to a correct understanding of its
          meaning”). In cases where those subsidiary facts are in dispute, courts will need to
          make subsidiary factual findings about that extrinsic evidence. These are the
          “evidentiary underpinnings” of claim construction that we discussed in Markman,
          and this subsidiary factfinding must be reviewed for clear error on appeal.

   Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct. 831, 841 (2015).

          B.      Departing from the Ordinary Meaning of a Claim Term

       There are “only two exceptions to [the] general rule” that claim terms are construed according

   to their plain and ordinary meaning: “1) when a patentee sets out a definition and acts as his own

   lexicographer, or 2) when the patentee disavows the full scope of the claim term either in the

   specification or during prosecution.” 3 Golden Bridge Tech., Inc. v. Apple Inc., 758 F.3d 1362, 1365

   (Fed. Cir. 2014) (quoting Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed.

   Cir. 2012)); see also GE Lighting Solutions, LLC v. AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir.

   2014) (“[T]he specification and prosecution history only compel departure from the plain meaning

   in two instances: lexicography and disavowal.”). The standards for finding lexicography or

   disavowal are “exacting.” GE Lighting Solutions, 750 F.3d at 1309.

       To act as his own lexicographer, the patentee must “clearly set forth a definition of the

   disputed claim term,” and “clearly express an intent to define the term.” Id. (quoting Thorner, 669

   F.3d at 1365); see also Renishaw, 158 F.3d at 1249. The patentee’s lexicography must appear

   “with reasonable clarity, deliberateness, and precision.” Renishaw, 158 F.3d at 1249.

       To disavow or disclaim the full scope of a claim term, the patentee’s statements in the

   specification or prosecution history must amount to a “clear and unmistakable” surrender. Cordis



   3
    Some cases have characterized other principles of claim construction as “exceptions” to the
   general rule, such as the statutory requirement that a means-plus-function term is construed to
   cover the corresponding structure disclosed in the specification. See, e.g., CCS Fitness, Inc. v.
   Brunswick Corp., 288 F.3d 1359, 1367 (Fed. Cir. 2002).
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   Corp. v. Boston Sci. Corp., 561 F.3d 1319, 1329 (Fed. Cir. 2009); see also Thorner, 669 F.3d at

   1366 (“The patentee may demonstrate intent to deviate from the ordinary and accustomed meaning

   of a claim term by including in the specification expressions of manifest exclusion or restriction,

   representing a clear disavowal of claim scope.”). “Where an applicant’s statements are amenable

   to multiple reasonable interpretations, they cannot be deemed clear and unmistakable.” 3M

   Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir. 2013).

          C.      Definiteness Under 35 U.S.C. § 112, ¶ 2 (pre-AIA) / § 112(b) (AIA) 4

       Patent claims must particularly point out and distinctly claim the subject matter regarded as

   the invention. 35 U.S.C. § 112, ¶ 2. A claim, when viewed in light of the intrinsic evidence, must

   “inform those skilled in the art about the scope of the invention with reasonable certainty.” Nautilus

   Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014). If it does not, the claim fails under

   § 112, ¶ 2 and is therefore invalid as indefinite. Id. at 2124. Whether a claim is indefinite is

   determined from the perspective of one of ordinary skill in the art as of the time the application for

   the patent was filed. Id. at 2130. As it is a challenge to the validity of a patent, the failure of any

   claim in suit to comply with § 112 must be shown by clear and convincing evidence. Id. at 2130

   n.10. “[I]ndefiniteness is a question of law and in effect part of claim construction.” ePlus, Inc. v.

   Lawson Software, Inc., 700 F.3d 509, 517 (Fed. Cir. 2012).

       When a term of degree is used in a claim, “the court must determine whether the patent

   provides some standard for measuring that degree.” Biosig Instruments, Inc. v. Nautilus, Inc., 783

   F.3d 1374, 1378 (Fed. Cir. 2015) (quotation marks omitted). Likewise, when a subjective term is

   used in a claim, “the court must determine whether the patent’s specification supplies some

   standard for measuring the scope of the [term].” Datamize, LLC v. Plumtree Software, Inc., 417


   4
    The Court refers to the pre-AIA version of § 112 but understands there is no substantial difference
   between definiteness under the pre-AIA version and under the AIA version of the statute.
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   F.3d 1342, 1351 (Fed. Cir. 2005). The standard “must provide objective boundaries for those of

   skill in the art.” Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (Fed. Cir. 2014).

   III.       CONSTRUCTION OF DISPUTED TERMS

              A.     “the message having an allocation of resources for a shared channel and a
                     radio network temporary identity (RNTI) associated with a plurality of UEs
                     including the UE”

              Disputed Term 5                 Plaintiff’s Proposed            Defendants’ Proposed
                                                  Construction                     Construction
       “the message having an            Plain and ordinary meaning,      the message having an
       allocation of resources for a     the message conveying an         allocation of resources for a
       shared channel and a radio        allocation of resources for a    shared channel and an
       network temporary identity        shared channel and conveying     allocation of a radio network
       (RNTI) associated with a          a radio network temporary        temporary identity (RNTI)
       plurality of UEs including the    identity (RNTI) associated       associated with a plurality of
       UE”                               with a plurality of UEs          UEs including the UE
                                         including the UE
       •   ’357 Patent Claims 11,
           30, 47

              The Parties’ Positions

           Plaintiff submits: This term has its plain and ordinary meaning and no construction is required.

   Under the plain meaning, a message “having” information is a message “conveying” that

   information. And the information conveyed is: (1) “an allocation of resources for a shared channel”

   and (2) “a radio network temporary identity (RNTI) associated with a plurality of UEs including

   the UE.” That is, the term is not directed to “an allocation of” an RNTI. As described in the ’357

   Patent, it is the RNTI that is included in the message, rather than an allocation of the RNTI. ECF

   No. 180 at 9–11.




   5
     For all term charts in this Order, the claims in which the term is found are listed with the term
   but: (1) only the highest-level claim in each dependency chain is listed and (2) only asserted claims
   identified in the parties’ P.R. 4-5 Joint Claim Construction Chart (ECF No. 210) are listed.
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       In addition to the claims themselves, Plaintiff cites the following intrinsic evidence to support

   its position: ’357 Patent figs.5, 9, 13–16, col.3 ll.21–29, col.4 ll.27–29, col.6 ll.58–63, col.8 ll.55–

   56, col.9 ll.25–26, col.9 l.59 – col.10 l.1, col.10 ll.15–19, col.10 ll.22–28, col.10 ll.37–40, col.10

   ll.59–62, col.10 l.67 – col.11 l.5.

       Defendants respond: A message “having” information is distinct from a message “conveying”

   information in that the former reflects content and the latter reflects transmission. And the claims

   separately recite “sending” the message, the transmission step. The term is directed to a message

   “having an allocation of”: (1) “resources for a shared channel” and (2) “a radio network temporary

   identity (RNTI) associated with a plurality of UEs including the UE.” That is, the message includes

   an allocation of RNTI. This comports with the description of the invention in the ’357 Patent,

   which includes description of allocation of RNTI and shared channels to UEs. And it comports

   with the prosecution history, which includes description of assigning temporary identifiers to UEs.

   ECF No. 194 at 7–11.

       In addition to the claims themselves, Defendants cite the following intrinsic evidence to

   support their position: ’357 Patent col.1 ll.6–7, col.1 ll.38–39, col.3 ll.2–10, col.5 ll.10–15, col.5

   ll.25–34, col.7 ll.26–37, col.7 l.63 – col.8 l.1, col.8 ll.6–19; ’357 Patent File Wrapper May 2, 2006

   Application (Defendants’ Ex. A, ECF No. 194-2), November 23, 2009 Amendment (Defendants’

   Ex. B, ECF No. 194-3).

       Plaintiff replies: The RNTI is a specific identifier that is included in—and necessarily

   conveyed by—the message. And while the patent may describe selecting an identifier, there is no

   description of sending an allocation of the identifier rather than the identifier itself. ECF No. 207

   at 3–4. It is unclear what “allocation of an RNTI” even means.




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       Plaintiff cites further intrinsic evidence to support its position: ’357 Patent col.3 ll.2–4, col.5

   l.1 – col.6 l.67, col.8 ll.62–64, col.10 ll.15–21.

       Analysis

       The issue in dispute is whether the message has an “allocation of a radio network temporary

   identity (RNTI) associated with a plurality of UEs including the UE” or, rather, “a radio network

   temporary identity (RNTI) associated with a plurality of UEs including the UE.” The message

   includes an RNTI and not simply an allocation of an RNTI.

       While the ’357 and ’330 Patents include numerous descriptions of selecting or allocating an

   RNTI for a UE or group of UEs, there is no description of including simply an allocation of an

   RNTI that is not the RNTI itself. In contrast, there are repeated descriptions of attaching or affixing

   an RNTI to a paging message. See, e.g., ’357 Patent fig.2, col.2 l.65 – col.3 l.3 (“affix the paging

   message with a … c-RNTI”), col.5 ll.9–10 (“attaches a c-RNTI … to the message”), col.5 ll.26–

   29 (“the paging signal … includes … c-RNTI”). And the claim language explicitly requires that

   the RNTI is “associated with a plurality of UEs including the UE,” so there is no need to use

   “allocation” to capture the association between the RNTI and the UE. In this context, “allocation

   of” in the claim language at issue modifies “resources” but not “a radio network temporary identity

   (RNTI) associated with a plurality of UEs including the UE.” See Phillips v. AWH Corp., 415 F.3d

   1303, 1316 (Fed. Cir. 2005) (en banc) (“‘The construction that stays true to the claim language

   and most naturally aligns with the patent’s description of the invention will be, in the end, the

   correct construction.’” (quoting Renishaw PLC v. Marposs Societa' per Azioni, 158 F.3d 1243,

   1250 (Fed. Cir. 1998)).

       The Court rejects Plaintiff’s proposal to rewrite “having” as “conveying.” It is not clear if

   Plaintiff intends any difference in meaning between the two terms, but the plain meaning of



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   “having” is readily accessible without further construction. And construing “having” as

   “conveying” threatens to improperly change the scope of the claim in that the former connotes

   content while the latter potentially connotes an action.

        Accordingly, the Court construes the term as follows:

                •   “the message having an allocation of resources for a shared channel and a radio

                    network temporary identity (RNTI) associated with a plurality of UEs including the

                    UE” means “the message having: (1) an allocation of resources for a shared channel

                    and (2) a radio network temporary identity (RNTI) associated with a plurality of

                    UEs including the UE.”

           B.       “the signal”

           Disputed Term                   Plaintiff’s Proposed            Defendants’ Proposed
                                              Construction                      Construction
    “the signal”                      Plain and ordinary meaning,       the signal that (1) indicates a
                                      no construction necessary.        page of the UE and (2)
    •   ’330 Patent Claims 1, 8,                                        includes an indication of the
        18, 25                        alternative: the signal to        shared channel for the UE to
                                      indicate a page of the UE         receive

    “the signal”                      Plain and ordinary meaning,       the signal that (1) indicates a
                                      no construction necessary.        page from a network device
    •   ’330 Patent Claims 9, 17,                                       and (2) includes an indication
        26, 34                        alternative: the signal to        of the shared channel
                                      indicate a page from the
                                      network device


           Because the parties’ arguments and proposed constructions with respect to these terms are

   related, the Court addresses the terms together.

        The Parties’ Positions

        Plaintiff submits: The term “the signal” refers to prior references in the claim of “a signal”

   that form the term’s antecedent basis. Claims 1 and 18 of the ’330 Patent recite “a signal to indicate

   a page of the UE” and Claims 9 and 26 recite “a signal to indicate a page from a network device.”

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   Defendants’ proposed construction improperly substitutes “that indicates” for the “to indicate”

   explicit in the claim language. And Defendants’ construction needlessly includes language

   elsewhere explicit in the claims. ECF No. 180 at 12–14.

       Defendants respond: The claims expressly require the signal to have two attributes: (1) that it

   indicates a page and (2) that it includes an indication of the shared channel. Plaintiff’s proposed

   construction threatens to exclude the second attribute. ECF No. 194 at 11–12.

       Plaintiff replies: There is no need to include language in the construction of “the signal” that

   is elsewhere expressed in the claims. ECF No. 207 at 4–5.

       Analysis

       The issue in dispute appears to be whether “signal to indicate a page” should be rewritten as

   “signal that indicates a page.” The Court sees no reason to change “to indicate” to “that indicates.”

       The parties agree that “the signal” refers to “a signal” earlier recited in the claims. This signal

   is explicitly defined in the claims. For example, Claim 1, reproduced here and annotated by the

   Court, requires that “a signal” is “to indicate a page of the UE,” “includes an indication of a shared

   channel for the UE to receive,” and “is derived
                                                           1. A network device comprising:
   from a radio network temporary-identifier                circuitry configured to receive, from a
                                                              core network, a paging message related
   (RNTI).” The other independent claims recite               to a user equipment (UE);
                                                            a processor configured to send, on a
   similar or analogous limitations. That is, “the            control channel in a long-term evolution
                                                              (LTE) network in response to reception
   signal” is explicitly defined in the claims. And           of the paging message, a signal to
                                                              indicate a page of the UE and the signal
   this definition is clear and accessible without            includes an indication of a shared
                                                              channel for the UE to receive;
   need for elucidation.                                    wherein the signal is derived from a radio
                                                              network temporary-identifier (RNTI);
       The Court rejects Defendants’ proposal                 and
                                                            the processor further configured to send a
   to rewrite “to indicate” as “that indicates.” It           transmission to the UE on the indicated
                                                              shared channel.

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   is not clear if Defendants intend any difference in meaning between the two terms, but the plain

   meaning of “to indicate” is readily accessible without further construction. And construing “to

   indicate” as “that indicates” threatens to improperly change the scope of the claim in that the

   former connotes capability and purpose while the latter potentially connotes action.

        Accordingly, the Court rejects Defendants’ “that indicates” language and holds that “the

   signal” has its plain and ordinary meaning without the need for further construction.

          C.      The “wherein allocation of resources” and “wherein resources are allocated”
                  terms.

               Disputed Term                   Plaintiff’s Proposed     Defendants’ Proposed
                                                  Construction              Construction
                                                                      wherein allocation of
                                          Plain and ordinary
                                          meaning, wherein            resources for the data of
    “wherein allocation of resources for
    the data of each channel [of a radio  allocation of resources for each channel of a radio
                                          the data of each channel    bearer having a second
    bearer] having a second parameter
    above zero is provided [before/prior  of a radio bearer having a parameter above zero
                                                                      must be provided for
    to] another channel’s data for        second parameter above
                                                                      transmission of that data
    transmission having a third parameter zero is provided before the before another channel’s
    less than or equal to zero”           allocation for another
                                                                      data having a third
                                          channel's data for
                                                                      parameter less than or
    • ’018 Patent Claims 12, 16, 20       transmission having a
                                                                      equal to zero
    • ’466 Patent Claims 4, 9             third parameter less than
                                          or equal to zero            alternative: indefinite

                                                                          wherein resources must
                                            Plain and ordinary            be allocated such that
    “wherein resources are allocated for    meaning, wherein              transmission of the data
    data of each channel [of a radio        allocation of resources for   of each channel [of a
    bearer] having a second parameter       the data of each channel      radio bearer] having a
    above zero [before/prior to] another    of a radio bearer having a    second parameter above
    channel’s data for transmission         second parameter above        zero takes place before
    having a third parameter less than or   zero is provided before the   transmission of data of
    equal to zero”                          allocation for another        another channel [of a
                                            channel's data for            radio bearer] having a
    •   ’018 Patent Claims 24               transmission having a         third parameter less than
    •   ’466 Patent Claims 1, 6             third parameter less than     or equal to zero
                                            or equal to zero
                                                                          alternative: indefinite



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           Because the parties’ arguments and proposed constructions with respect to these terms are

   related, the Court addresses the terms together.

       The Parties’ Positions

       Plaintiff submits: These terms all are directed to allocation of resources between two sets of

   data—the resources for one set are allocated before the other set. This allocation refers to setting

   the relative priority of the two data sets—one set has priority over the other. This is not simply the

   order of transmission of the data, as Defendants’ propose. ECF No. 180 at 14–18.

       In addition to the claims themselves, Plaintiff cites the following intrinsic evidence to support

   its position: ’018 Patent fig.4–6, col.2 ll.58–59, col.3 ll.22–24, col.4 ll.11–13, col.4 ll.15–16, col.9

   ll.21–28, col.9 ll.38–45, col.9 l.55 – col.10 l.18, col.10 ll.28–30, col.10 ll.37 – col.12 l.14.

       Defendants respond: These terms each include an error—they are missing words in either of

   the clauses separated by the “prior to”/“before” language. Given the description of the invention

   in the ’018 and ’466 Patents and the claim language surrounding the terms, the error may be

   corrected only by making clear that the temporal aspect of the term relates to the transmission of

   the data. As described in the patents, data with a parameter not greater than zero receive no

   allocation of communication resources and therefore cannot transmit. One set of data (with

   parameter greater than zero) is therefore transmitted before the other set (with parameter less than

   or equal to zero). Plaintiff’s proposed construction improperly excludes the “for transmission”

   requirement expressed in the terms. Finally, if both Defendants’ and Plaintiff’s proposed

   constructions are reasonable, then the term renders claims indefinite because there are multiple

   reasonable corrections to the error in the claim language. ECF No. 194 at 12–20.




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       In addition to the claims themselves, Defendants cite the following intrinsic evidence to

   support their position: ’018 Patent fig.6, col.3 ll.22–24, col.4 ll.11–16, col.8 ll.12–28, col.9 ll.38–

   45, col.10 ll.28–30, col.10 ll.37–40, col.11 ll.5–47, col.12 ll.1–12.

       Plaintiff replies: There is no error in the claim language that needs to be corrected, no missing

   words that need to be added. Rather, the claim language plainly refers to the allocation of resources

   for two different sets of data, wherein the allocation for one is performed before the allocation for

   the other. The patents describe a resource-allocation process that is not simply transmitting one

   data set before the other. Resources are allocated to queues based on parameter values, then data

   in the queues are transmitted at “a single instant in time.” The “for transmission” language in the

   term refers to the data that is considered in the third parameter—it is only data that is “for

   transmission,” not other data associated with the “another” channel. ECF No. 207 at 5–7.

       Plaintiff cites further intrinsic evidence to support its position: ’018 Patent col.9 ll.11–20,

   col.9 ll.54 – col.12 l.33.

       Analysis

       The dispute is whether this term requires transmission of one set of data (with a second

   parameter above zero) before transmission of another set of data (with a third parameter less than

   or equal to zero). It does not. It requires allocation of communication resources to one set of data

   before allocation of resources to the another set of data. This does not necessarily set the order of

   transmission of the data.

       There is no error in the claim language. The limitation at issue is directed to the relative timing

   of communication-resource allocation. The Court agrees with Plaintiff that “for transmission” is

   an attribute of the “another channel’s data.” “For transmission” does not mandate that data with




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   the second parameter greater than zero is necessarily transmitted before the data with the third

   parameter less than or equal to zero.

       The timing of transmission of data and resource allocation is not as simple as Defendants

   suggest. It is true that the patents describe an embodiment in which a zero-value parameter yields

   no resource allocation to data. ’018 Patent col.10 l.37 – col.12 l.14. But it is not clear from this

   that the zero-value-parameter data is necessarily transmitted only after all the greater-than-zero-

   value-parameter data. For example, the patents describe that after allocation of resources to a user’s

   data, “the user is placed at the back of the queue (assuming there is still buffer occupancy left for

   this user given the resource that has been allocated).” Id. at col.8 ll.13–23. This suggests that some

   of the data in the queue may not be transmitted but is instead sent to the back of the queue, subject

   to another iteration of weighted-resource allocation. In this subsequent iteration of weighted-

   resource allocation, it may be that data originally associated with a zero-value parameter is now

   associated with a parameter greater than zero and is transmitted with or before the data sent to the

   back of the queue. See id. at col.10 l.37 – col.12 l.14.

       Accordingly, the Court construes these terms as follows:

              •   ’018 Patent Claims 12, 16, 20 and ’466 Patent Claims 4,9: “wherein allocation of

                  resources for the data of each channel [of a radio bearer] having a second parameter

                  above zero is provided [before/prior to] another channel’s data for transmission

                  having a third parameter less than or equal to zero” means “wherein allocation of

                  resources for a first set of data is provided before any allocation of resources for a

                  second set of data, where the first set of data is the data of each channel of a radio

                  bearer having a second parameter above zero and the second set of data is another

                  channel’s data-for-transmission having a third parameter less than or equal to zero”;



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               •   ’018 Patent Claim 24 and ’466 Patent Claims 1, 6: “wherein resources are allocated

                   for data of each channel [of a radio bearer] having a second parameter above zero

                   [before/prior to] another channel’s data for transmission having a third parameter

                   less than or equal to zero” means “wherein resources are allocated for a first set of

                   data before any are allocated for a second set of data, where the first set of data is

                   the data of each channel of a radio bearer having a second parameter above zero

                   and the second set of data is another channel’s data-for-transmission having a third

                   parameter less than or equal to zero.”

          D.       “the single physical channel”

           Disputed Term                   Plaintiff’s Proposed             Defendants’ Proposed
                                              Construction                       Construction
    “the single physical channel”                                       the same physical channel on
                                                                        which the UE receives the
    •   ’828 Patent Claims 1, 15                                        allocation of a scheduled
                                                                        uplink resource and a TPC
                                                                        command

    “the single physical channel”                                   the same physical channel on
                                                                    which the circuitry is
    •   ’828 Patent Claim 8, 22                                     configured to receive the
                                                                    allocation of a scheduled
                                      Plain and ordinary meaning, a uplink resource and a TPC
                                      channel capable of carrying   command
                                      an allocation of a scheduled
    “the single physical channel”     uplink resource and a TPC     the same physical channel on
                                      command                       which the network device
    •   ’828 Patent Claim 29                                        sends the allocation of a
                                                                    scheduled uplink resource
                                                                    and a TPC command

    “the single physical channel”                                       the same physical channel on
                                                                        which the circuitry is
    •   ’828 Patent Claim 36                                            configured to send the
                                                                        allocation of a scheduled
                                                                        uplink resource and a TPC
                                                                        command



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             Because the parties’ arguments and proposed constructions with respect to these terms are

   related, the Court addresses the terms together.

          The Parties’ Positions

          Plaintiff submits: The term refers to “a single physical channel” previously recited in the

   claims. Defendants’ proposed construction requiring the “same” physical channel is ambiguous in

   that it is unclear whether Defendants intend “same” to mean that the channel necessarily be used

   for both allocation of a scheduled uplink resource and a TPC command, even when accumulation

   is not enabled. ECF No. 180 at 20–22.

          In addition to the claims themselves, Plaintiff cites the following intrinsic evidence to support

   its position: ’828 Patent, at [57] Abstract, col.12 ll.39–54.

          Defendants respond: The term means that the physical channel used when accumulation is not

   enabled is the same physical channel used when accumulation is enabled. This does not require

   that a TPC command is received in both modes. But it does require that “the single physical

   channel” has more than just capability in common with the previously recited “a single physical

   channel.” It must be the same channel. ECF No. 194 at 21–22.

          Plaintiff replies: The claims are directed to methods having two modes, one in which

   accumulation is enabled and one in which it is not. The methods do not require operation in both

   modes; therefore, it is improper to require that the physical channel be used in both modes. The

   single physical channel simply needs to be capable of carrying a TPC command. ECF No. 207 at

   7–8.

          Analysis

          The issue is whether “the single physical channel” must be the same for the accumulation-

   enabled mode as for the accumulation-not-enabled mode. It must. This requires more than just “a



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   channel capable of carrying an allocation of a scheduled uplink resource and a TPC command.”

   But it does not require actual operation in both modes.

       The parties agree the “the single physical channel” refers to “a physical channel” earlier

   recited in the claims. This physical channel is used when accumulation is enabled and when it is

   not enabled. For example, Claim 1 of the ’828 Patent, reproduced here and annotated by the Court,

   requires receiving an allocation of resource and a TPC command on “a single physical channel”

   when accumulation is enabled and receiving an allocation of resource on “the single physical

   channel” when accumulation is not enabled. It is the same physical channel.

       The plain meaning of the claims comports with an embodiment described in the patent.

   Specifically, the patent describes a “new physical channel” that includes “fast allocation and

   scheduling information . . . thereby informing
                                                           1. A method performed by user equipment
                                                          (UE), the method comprising:
   the UE of the uplink resources that it may use”
                                                            receiving, by the UE, an indication of
                                                              whether accumulation of transmit
   and can “be used as the feedback channel for
                                                              power control (TPC) commands is
                                                              enabled;
   the combined power control scheme.” ’828
                                                            determining, by the UE, a path loss of a
                                                              downlink channel;
   Patent col.12 ll.44–44. “For example, an
                                                            receiving, on a single physical channel
                                                              by the UE if accumulation is enabled, an
   allocation/scheduling channel could carry
                                                              allocation of a scheduled uplink
                                                              resource and a TPC command, wherein
   TPC commands.” Id. at col.12 ll.49–51. That
                                                              the TPC command is accumulated with
                                                              other received TPC commands;
   is, one physical channel—a single physical
                                                            calculating, by the UE if accumulation is
                                                              enabled, transmit power in association
   channel—carries both uplink resource and a
                                                              with an uplink communication based on
                                                              both the path loss and the accumulated
   TPC command (if the TPC command is
                                                              TPC commands; and
                                                            receiving, on the single physical channel
   present).
                                                              by the UE if accumulation is not
                                                              enabled, an allocation of a scheduled
       Accordingly, the Court construes the
                                                              uplink resource to transmit data at a
                                                              power level calculated by the UE based
   terms as follows:
                                                              on the path loss.


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               •   ’828 Patent Claims 1, 15: “the single physical channel” means “the same physical

                   channel on which the UE receives the allocation of a scheduled uplink resource and

                   a TPC command if accumulation were enabled”;

               •   ’828 Patent Claims 8, 22: “the single physical channel” means “the same physical

                   channel on which the circuitry is configured to receive the allocation of a scheduled

                   uplink resource and a TPC command if accumulation were enabled”;

               •   ’828 Patent Claim 29: “the single physical channel” means “the same physical

                   channel on which the network device sends the allocation of a scheduled uplink

                   resource and a TPC command if accumulation were enabled”; and

               •   ’828 Patent Claim 36: “the single physical channel” means “the same physical

                   channel on which the circuitry is configured to send the allocation of a scheduled

                   uplink resource and a TPC command if accumulation were enabled.”

          E.       “[receiving/receive/sending/send] … if accumulation is not enabled, an
                   allocation of a scheduled uplink resource to transmit data [to the wireless
                   network/network device] at a power level calculated by the UE based on the
                   path loss”

           Disputed Term                    Plaintiff’s Proposed              Defendants’ Proposed
                                               Construction                       Construction
    “[receiving/receive/sending/se     Plain and ordinary meaning,       Plain and ordinary meaning,
    nd] . . . if accumulation is not   (no negative limitation           [receiving/receive/sending] . . .
    enabled, an allocation of a        required)                         if accumulation is not enabled
    scheduled uplink resource to                                         an allocation of a scheduled
    transmit data [to the wireless                                       uplink resource to transmit
    network/network device] at a                                         data to the wireless network at
    power level calculated by the                                        a power level calculated by the
    UE based on the path loss”                                           UE based on the path loss and
                                                                         without using a TPC command
    •   ’828 Patent Claims 1, 8,
        15, 22, 29, 36




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           The Parties’ Positions

        Plaintiff submits: The claim language does not preclude inclusion of a TPC command when

   accumulation is not enabled. Therefore, Defendants’ negative limitation is improper. ECF No. 180

   at 22–23.

        Defendants respond: Under the plain meaning of the term, the claims do not allow for TPC

   commands when accumulation is not enabled. If the term is construed to allow TPC commands

   when accumulation is not enabled, then the claim language specifying that TPC commands are

   received when accumulation is enabled would be superfluous. Construing the claims so that TPC

   commands are used when accumulation is enabled and are not allowed when accumulation is not

   enabled comports with the description of the invention. The ’828 Patent describes two power-

   control systems, a closed-loop system that uses TPC commands and an open-loop system that does

   not. The claims are directed to open- and closed-loop control when accumulation is enabled and

   to open-loop operation when accumulation is not enabled. ECF No. 194 at 23–25.

        In addition to the claims themselves, Defendants cite the following intrinsic evidence to

   support their position: ’828 Patent figs.2–4, col.6 l.55 – col.7 l2., col.7 ll.10–19, col.7 ll.64–66,

   col.8 ll.4–11, col.8 ll.48–56, col.8 l.66 – col.9 l.18, col.9 ll.47–62, col.11 ll.39–42.

        Plaintiff replies: TPC commands are not prohibited when accumulation is not enabled just

   because they are required when accumulation is enabled. The patent contemplates use of TPC

   commands for power adjustment both when accumulation is enabled and when it is not. When

   accumulation enabled, power adjustment is based on the accumulated TPC value. When

   accumulation is not enabled, power adjustment is based on the last TPC value. ECF No. 207 at 8–

   9.




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       Plaintiff cites further intrinsic evidence to support its position:’828 Patent, at [57] Abstract,

   figs.3–4, 5C, col.7 ll.16–19, col.7 ll.64–66, col.8 l.66 – col.9 l.15, col.9 l.55 – col.10 l.14, col.11

   ll.19–25, col.12 ll.7–65.

       Analysis

       The issue in dispute here is whether, when accumulation is not enabled in the user equipment

   (UE), a “power level calculated by the UE based on the path loss” necessarily is not also based on

   a transmit power control (TPC) command. The claim language has no such limitation.

       The distinction between the accumulation-enabled mode and the accumulation-not-enabled

   mode is whether TPC commands are accumulated for use in setting the UE’s transmit-signal power

   level. As described in the ’828 Patent, a power-control system according to the invention may use

   TPC commands in at least three ways: (1) accumulate the TPC commands and use the accumulated

   value to update the transmit power level every frame period, (2) update the transmit power level

   each time a new TPC command is received, and (3) update the transmit power level each time a

   new TPC command or a new power level is received. ’828 Patent col.8 l.66 – col.9 l.10. Thus, the

   patent describes using TPC commands outside of a mode in which the TPC commands are

   accumulated.

       The claims do not restrict use of information in calculating the power level. Rather, the claims

   require certain information but are otherwise open-ended. In the claimed accumulation-enabled

   mode, the power level is necessarily “based on both the path loss and the accumulated TPC

   commands.” See, e.g., id. at col.13 ll.48–51 (Claim 1). In the claimed accumulation-not-enabled

   mode, the power level is necessarily “based on the path loss.” Id. at col.13 ll.52–55 (Claim 1).

   Thus, the accumulated TPC commands are required in one mode but are not required in the other.

   Use of “based on” in the patent suggests that, as for the “comprising” and transitions in the claims,



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   the set of information following “based on” is not closed. For example, Claim 6, which depends

   from Claim 1, recites “wherein the calculated transmit power is based on a selected transport

   format.” Id. at col.13 ll.66–67. If “based on” mandated a closed set, then Claim 6 is impossible as

   it appends the power-level calculations of Claim 1. Ultimately, Defendants have not shown that

   reading in a negative limitation is mandated either by the description or the claim language.

           Accordingly, the Court rejects Defendants’ proposed “and without using a TPC command”

   and holds that accumulation-not-enabled term has its plain and ordinary meaning without the need

   for further construction.

             F.      “transmit a broadcast channel in an orthogonal frequency division multiple
                    access (OFDMA) core-band”

              Disputed Term                 Plaintiff’s Proposed           Defendants’ Proposed
                                               Construction                    Construction
       “transmit a broadcast channel   Plain and ordinary meaning,     transmit a broadcast channel,
       in an orthogonal frequency      transmitting a broadcast        wherein the entire broadcast
       division multiple access        channel, wherein the entire     channel is contained within
       (OFDMA) core-band”              channel is contained within     the OFDMA core band and
                                       an orthogonal frequency         provides essential radio
       •   ’641 Patent Claim 1         division multiple access        control channels and a set of
                                       (OFDMA) core-band               data channels in the core band
                                                                       to maintain basic radio
                                                                       operation


             The Parties’ Positions

           Plaintiff submits: The term plainly denotes where the transmitted broadcast channel is

   located—in an OFDMA core-band. In an Inter Partes Review of the ’641 Patent’s parent, U.S.

   Patent No. 7,787,431 (the “’431 Patent”), 6 the Patent Trial and Appeal Board interpreted this term

   to denote that the entire broadcast channel is located in an OFDMA core-band. This construction



   6
     The ’641 Patent issued from a continuation of the application that issued as the ’431 Patent; thus,
   they share a substantially identical disclosure of the invention. See ’641 Patent, at [63] Related
   U.S. Application Data.
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   is supported by an exemplary embodiment disclosing a broadcast channel entirely within a core-

   band. There is no intrinsic support for Defendants’ proposed additional limitation, “wherein the

   entire broadcast channel . . . provides essential radio control channels and a set of data channels in

   the core band to maintain basic radio operation.” At most, the patent includes a description of

   essential control channels and exemplary data channels in the core-band, but not in the broadcast

   channel. It would be improper to read this feature of an exemplary embodiment into the

   construction of “core-band,” let alone “broadcast channel.” ECF No. 180 at 23–26.

       In addition to the claims themselves, Plaintiff cites the following intrinsic evidence to support

   its position: ’641 Patent col.4 l.66 – col.5. l.4, col.5 ll.7–17, col.6 ll.23–30; ’431 Patent; Final

   Written Decision, Ericsson Inc. et al. v. Intellectual Ventures II LLC, IPR2015-01664 (’431

   Patent), Paper 24 (PTAB Feb. 8, 2017) (Plaintiff’s Ex. 8, ECF No. 180-9).

       Defendants respond: The term requires the entire broadcast channel to be entirely within the

   OFDMA core-band, but this is because of Plaintiff’s argument to overcome a prior-art reference

   in the Inter Partes Review of the ’431 Patent. Plaintiff’s IPR-argument is based on the ’431 Patent’s

   disclosure that is identical to the ’641 Patent’s disclosure at column 5, lines 7 to 17. Per the IPR-

   argument, the “entire broadcast channel” includes provision of “essential radio control channels

   and a set of data channels in the core-band to maintain basic radio operation.” This limitation

   should be included in the construction of “transmit a broadcast channel in an orthogonal frequency

   division multiple access (OFDMA) core-band.” ECF No. 194 at 26–33.

       In addition to the claims themselves, Defendants cite the following intrinsic evidence to

   support their position: ’641 Patent col.5 ll.7–17, col.6 ll.23–30; ’431 Patent (Defendants’ Ex. F,

   ECF No. 194-7); Ericsson Inc. et al. v. Intellectual Ventures II LLC, IPR2015-01664 (’431 Patent):

   Decision – Institution of Inter Partes Review, Paper 7 (PTAB Feb. 11, 2016) (Defendants’ Ex. C,



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   ECF No. 194-4), Patent Owner Response, Paper 13 (PTAB May 9, 2016) (Defendants’ Ex. E, ECF

   No. 194-6), Declaration of Kenneth Zeger, Ph.D., Exhibit 2001 (PTAB May 9, 2016) (Defendants’

   Ex. G, ECF No. 194-8); Final Written Decision, Paper 24 (PTAB Feb. 8, 2017) (Defendants’ Ex.

   D, ECF No. 194-5).

       Plaintiff replies: A broadcast channel does not provide data channels. It provides control

   information. The argument in the ’431 Patent IPR is that a broadcast channel located both inside

   and outside the core-band contradicts the purpose of an embodiment disclosing the broadcast

   channel (control channels) and data channels entirely within the core-band. The broadcast channel

   and data channels are distinct. ECF No. 207 at 9–12.

       Plaintiff cites further intrinsic evidence to support its position: ’641 Patent col.3 ll.54–56;

   ’431 Patent (Plaintiff’s Ex. 9, ECF No. 207-2); Ericsson Inc. et al. v. Intellectual Ventures II LLC,

   IPR2015-01664 (’431 Patent): Declaration of Zygmunt J. Haas, Ph.D., Exhibit 1012 (PTAB Aug.

   3, 2015) (Plaintiff’s Ex. 10, ECF No. 207-3), Patent Owner Response, Paper 13 (PTAB May 9,

   2016) (Plaintiff’s Ex. 13, ECF No. 207-6), Declaration of Kenneth Zeger, Ph.D., Exhibit 2001

   (PTAB May 9, 2016) (Plaintiff’s Ex. 11, ECF No. 207-4), Record of Oral Hearing, Paper 23

   (PTAB Jan. 12, 2017) (Plaintiff’s Ex. 12, ECF No. 207-5), Response Brief of Appellee Intellectual

   Ventures II LLC, 2017-2242, ECF No. 23 (Fed. Cir. Nov. 14, 2017) (Plaintiff’s Ex. 14, ECF No.

   207-7).

       Analysis

       The issue here is whether “broadcast channel” necessarily “provides essential radio control

   channels and a set of data channels in the core band to maintain basic radio operation.” It provides

   control channels essential to maintain basic radio operation, but it does not necessarily provide

   data channels.



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       “Broadcast channel” has a customary meaning. Neither party identifies the use of “broadcast

   channel” in the ’641 Patent other than in the claim set. 7 This was also an issue when construing

   “transmit a broadcast channel in an orthogonal frequency division multiple access (OFDMA) core-

   band” in the IPR of the ’431 Patent. See, e.g., Record of Oral Hearing, Ericsson Inc. et al. v.

   Intellectual Ventures II LLC, IPR2015-01664, Paper 23 at 12:14 – 15:17 (PTAB Jan. 12, 2017),

   ECF No. 207-5 at 16. In the IPR, the parties understood that “broadcast channel” has a customary

   meaning related to radio-control information, not to user data. See, e.g., id.; Haas Decl., IPR2015-

   01664, Exhibit 1012 at ¶¶ 66–67 (PTAB Aug. 3, 2015), ECF No. 207-3 at 41–42; Zeger Decl,

   IPR2015-01664, Exhibit 2001 at ¶¶ 57–59 (PTAB May 9, 2016), ECF No. 207-4 at 26–29. The

   parties also distinguished “control channel” from “data channel.” Patent Owner Response,

   IPR2015-01664, Paper 13 at 20–21 (PTAB May 9, 2016), ECF No. 194-6 at 28–29. And the patent

   disclosure at issue in the IPR, ’641 Patent column 5 lines 7 through 17, 8 regards provision of

   channels in a core-band that are used to maintain basic radio operation, not provision of user-data

   channels in a broadcast channel. Thus, the Court understands that “broadcast channel” has a

   customary meaning related to radio-control information, not to user data. 9

       The issue in the IPR of the ’431 Patent concerned where the broadcast channel was located—

   entirely within the core-band or only partly within the core-band—not whether the broadcast

   channel included or provided data channels. Patent Owner Response, IPR2015-01664, Paper 13 at

   15, 27–37 (PTAB May 9, 2016), ECF No. 194-6 at 23, 35–45; Final Written Decision, IPR2015-



   7
     The term “broadcasting channel” is used in the ’641 Patent to denote a channel with control
   information (“bandwidth information”). ’641 Patent col.6 ll.23–30.
   8
     This is identical to the disclosure at column 5 lines 8 through 18 of the ’431 Patent.
   9
     The term “broadcast channel” and its acronym “BCH” are used in other of the Asserted Patents
   to denote a channel for radio-control information. See, e.g., ’357 Patent col.7 ll.7–15, col.12 ll.3–
   4; ’828 Patent col.5 ll.8–10. This further supports that “broadcast channel” has a customary
   meaning related to control information, not data.
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   01664, Paper 24 at 8–9, (PTAB Feb. 8, 2017), ECF No. 194-5 at 9–10. The argument there was:

   (1) certain information (control and data) must be included in the core-band to maintain basic radio

   operation (the “primary state of operation”), (2) if part of the broadcast channel is transmitted

   outside the core-band, then the information in the core-band is insufficient to reach the primary

   state, and (3) the prior-art references at issue did not include a broadcast channel in the core-band.

   Given that “broadcast channel” customarily refers to a channel for radio-control information, this

   IPR statement is not clearly defining that “broadcast channel” in the ’431 Patent (and, by extension,

   the ’641 Patent) necessarily includes data channels. Rather, it suggests simply that the broadcast

   channel includes control information essential for basic radio operation and must be in the core-

   band. This is not the disavowal of claim scope that Defendants suggest. See Cordis Corp. v. Boston

   Sci. Corp., 561 F.3d 1319, 1329 (Fed. Cir. 2009) (“A disclaimer must be clear and unmistakable,

   and unclear prosecution history cannot be used to limit claims.” (quotation marks omitted)); 3M

   Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir. 2013) (“Where an

   applicant’s statements are amenable to multiple reasonable interpretations, they cannot be deemed

   clear and unmistakable.”). “Broadcast channel” does not necessarily include or provide “data

   channels.”

       Accordingly, the Court rejects Defendants’ proposed construction and construes the term as

   follows:

                •   “transmit a broadcast channel in an orthogonal frequency division multiple access

                    (OFDMA) core-band” means “transmit a broadcast channel that includes control

                    channels essential to maintain basic radio operation, wherein the entire broadcast

                    channel is contained within an orthogonal frequency division multiple access

                    (OFDMA) core-band.”



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    IV.     CONCLUSION

          The Court adopts the constructions above for the disputed terms of the Asserted Patents.

   Furthermore, the parties should ensure that all testimony that relates to the terms addressed in this

   Order is constrained by the Court’s reasoning. However, in the presence of the jury the parties

   should not expressly or implicitly refer to each other’s claim construction positions and should not

   expressly refer to any portion of this Order that is not an actual construction adopted by the Court.

   The references to the claim construction process should be limited to informing the jury of the

   constructions adopted by the Court.
           SIGNED this 3rd day of January, 2012.
            SIGNED this 15th day of November, 2018.




                                                         ____________________________________
                                                         ROY S. PAYNE
                                                         UNITED STATES MAGISTRATE JUDGE




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